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                           PETITION UNDER 28U.S.C.j2254FOR W RIT OF
                       H A BEA S C O RPU S BY A PER SO N IN STA TE CU STO D Y
  United SatesDistrictCourtSouthel'
                                  n DistrictofFlorida                             District:W estPalm Beach
  N am e(underwhichyouwereconvicted):                                                        D ocketor Case N o.:
  M ichaelSam uels                                                                                           '
  Place ofC onflnem ent:                                                   Prisoner      :       5        ' w              - -
  South Bay Correctional& R ehabilitation Facility
  P.O.Box7171                                                                                     JUN gl 2219
  south Ba ,Florida33493-7171
  Pe
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               ncue
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                       enameunderwhi
                                   chyouwereconvicted)       MReskpIonc
                                                               ar    ndhent(authorizedprs.
                                                                                         onhavi.D. FPA.
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                                                                                                      pW.
                                                                                                        Kt
                                                                                                         RB
                                                                                                          ler)
                                                                                                          B.
                                                                       ,  Sec'y Fla.      .       .
  TheAttorney Generalofthe StateofFlorida:Ashley M oody
                                                         PETITION
      (a)Nameand location ofcourtwhich enteredthejudgmentofconvictionyouarechallenging:FifteenthJudicialCircuitin
  andforPalm BeachCountv.Florida.
     (b)Criminaldocketorcasenumber(ifyouknowl:15CF003354AM8.
  2. (a)Dateofjudgmentofconviction(ifyouknow):Auzust25.2016.
     (b)Dateofsentencing:Auaust25.2016.
  3.Length ofsentence'.Count l- fifteen vears imrdsonment:Counts 2.3 & s- five vearsimprisonment:Counts 6 & 7- time
  served.lAllsentenceswere imrosedto run concurrentlv.
  4.Inthiscase,wereyouconvictedonmorethanonecountorofmorethanonecrime? Yes(X) No E)
  5.Identify al1crimesofwhich you were convicted and sentenced in thiscase:cariackine (Count1):false imprisonment.victim
  under 13 vearsofaee (Counts2 & 3).criminalm ischief(Count51.leavina thescene ofan accidentinvolvinz damaee(Count61.
  andfailureto fulfilldutvuoon Drooertv damaze (Count7).
  6.(a)W hatwasyourplea?(Checkone)
      (1)Notguilty()                (3)Nolocontendere(nocontest)g )
      (2) GuiltyEXj                 (4)lnsanityplea(1
      (b)Ifyouenteredaguilt.
                           ypleatoonecountorchargeandanotguiltypleatoanothercountbrcharge,whatdidyoupleadnot
  guiltyto?N/A
     (c)lfyouwenttotrial,whatkindoftrialdidyouhave?(Checkone)
         Jury(j            Judgeonly Eq
  7.Did you testify atapretrialhearing,trial,orapost-trialhearing?
        YesEj             No(X)
  8.Didyouappealfrom thejudgmentofconviction?
        Yes()             NogX)
  9.lfyou did appeal,answerthefollowing:
    (a)Nameofcourt:N/A
    (b)Docketorcasenumber(ifyouknowl:N/A
  lThestatedismissed count4,aggravatedbattery witjja deadly weapon.
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    (c)Result:N/A
    (d)Dateofresult(ifyouknow):N/A
    (e)Citationtothecase(ifyouknowl:N/A
    (9 Groundsraised:N/A
    (g)Didyouseekfurtherreview byahigherstatecourt? Yes(Xj NoEq
     Ifyes,answerthefollowing:
       (1)Nameofcourt:N/A
       (2)Docketorcasenumber(ifyouknowl:N/A
       (3)Result:N/A
       (4)Dateofresult(ifyouknow):N/A
       (5)Citationtothecase(ifyouknow):N/A
       (6)Groundsraised:N/A
    (h)DidyoufileapetitionforcertiorariintheUnitedStatesSupremeCourt?
        Yes(jNogXj
        Ifyes,answerthe following:N/A
        (1)Docketorcasenumber(ifyouknowl:N/A
        (2)Result:N
                  -/A
        (3)Dateofresult(ifyouknowl:N/A
        (4)Citationtothecase(ifyouknowl:N/A
  10.Otherthan thedirectappeals listed above,haveyou previously filed any otherpetitions,applications,ormotionsconceming
  thisjudgmentofconvictioninanystatecourt? Yes(XjNo()
  11.IfyouranswertoQuestion 10was''Yes,'givethefollowinginformation:
     (a)(1)Nameofcourt:FiheenthJudicialCircuitinandforPalm BeachCounty.Florida.
        (2)Docketorcasenumber(ifyouknowl:15CF003354AMB.
        (3)Dateoffiling(ifyouknowl:October23.2017
        (4)Natureofproceeding:Motionforpost-convictionreliefoursuanttoFla.R.Crim.P.3.850.
        (5)Groundsraised:(1)scoresheeterror:(2)(A) trialcounselwasineffectiveforfailinatomoveto dismisscountstwoand
      three.which 1ed to Petitioner's entrv ofa olea to crimes for which there was no factualbasis:(2)(B) trialcounselwas
      ineffective for failina to obiect to the scoresheet error: (2)(C) trial counselwas ineffective for failina to ensure that
      Petitioner'ssentencewasin confonnancewiththepleaaereement.
      (6)Didyoureceiveahearingwhereevidencewasgivenonyourpetition,application,ormotion? YesgqNo(Xq
      (7)Result:Summarilvdenied.
      (8)Dateofresult(ifyouknowl:October15.2018.
    (b)Ifyoufiledanysecondpetition,applicationormotiongivethesameinformation:
      (1)Nameofcourt:N/A
      (2)Docketorcasenumber(ifyouknowl:N/A
      (3)Dateoffiling(ifyouknowl:N/A
      (4)Natureofproceeding:N/A
      (5)Groundsraised:N/A
      (6)Didyoureceiveahearingwhereevidencewasgivenonyourpetition,application,ormotion? Yes()NoEj
      (7)Result:N/A
      (8)Dateofresult(ifyouknowl:N/A
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    (c)Ifyoufiledanythirdpetition,application,ormotion,givethesameinformation:
       (1)Nameofcourt:N/A
       (2)Docketorcasenumber(ifyouknowl:N/A
       (3)Dateoffiling(ifyouknowl:N/A
       (4)Natureofproceeding:N/A
       (5)Groundsraised:N/A
       (6)Didyoureceiveahearingwhereevidencewasgivenonyourpetition,application,ormotion? Yes( qNo E)
       (7)Result:N/A
       (8)Dateofresult(ifyouknowl:N/A
    (d)Didyouappealtothehigheststatecourthavingjurisdictionovertheactiontakenonyourpetition,application,ormotion?
       (1)Firstpetition:Yes(X)No ()
       (2)Secondpetition: YesE)NoEj
       (3)Thirdpetition: YesEqNo (q
    (e)Ifyoudidnotappealtothehigheststatecourthavingjurisdiction,explainwhyyoudidnot:N/A
  12.For this petition,state every ground on which you claim thatyou are being held in violation of the Constitution,laws,or
  treatiesoftheUnited States.Attach additionalpagesifyou havemorethan fourgrounds.Statethefactssupporting each ground.
  CAUTION:To proceed in thefederalcourt,you mustordinarily firstexhaust(useup)youravailablestate-courtremedieson
  each ground on which you requestaction by thefederalcourt.Also,ifyou failto setfort
                                                                                    h a11the groundsin thispetition,you
  may bebarred from presenting additionalgroundsatalaterdate.

  GROUND ONE:
           TRIAL COUNSEL W AS INEFFECTIVE,IN VIOLATION OF THE SIXTH AM ENDM ENT TO THE
           UNITED STATES CONSTITUTION ,FOR FAILING TO M OVE TO DISM ISS COUNTS TW O Ar
           THREE OF THE INFORM ATIONJ W HICH LED TO PETITIONER ENTERING A PLEA TO CRIM ES
           FOR W HICH THERE W AS NO FACTUAL BASIS
    (a)Supportingfacts(Donotargueorcitelaw.Juststatethespeciticfactsthatsupportyourclaim.):
          In counts2 & 3,Petitionerwascharged with kidnapping.Recognizing thattherewasno evidence
  to supportthe charges,trialcounselprepared a motion to dism iss counts2 & 3.Butinstead offiling the
  m otion to dism iss,counsel advised Petitioner to abandon the motion and enter a plea of guilty to the
  lesserincluded offensesoffalseimprisonment(counts2 & 3),along with the otherpending offenses
  (counts 1,5,6 & 7),in exchange for 180 months imprisonment.Although Petitioner knew he was
  innocentofcounts2 & 3,he followed counsel'sadvice and entered the guilty plea.As aresult,Petitioner
  entered a plea to crim esforwhich there was no factualbasis and,absentcounsel's erroneous advice,he
  would nothave entered theplea and would have insisted on going to trial.

          The factsofthe case,which dem onstrate the lack of a factualbasis,are as follows.The alleged
  victims of counts 2 & 3 were children;9 and 4 years old.And there is no evidence thateitherchild was
  ever confined or thatPetitioner ever used any force or threatened them in any w ay, a11 of which are
  essentialelementsofnotonly kidnapping,butalso false imprisonment.Joseph Lowe(thefatherofboth
  children)testifiedthatthechildren remained asleep in theback seatofthe vehiclethroughoutthe entire
  3o-second car-jacking attemptand thatthey didnotwake up untilaftertheincidentwasover,which
  dem onstrates Petitioner had no knowledge of their presence before or during the incident.M oreover,
  neitherchild w asin a carseatatthe tim e ofthe incident,which m ade them al1butinvisible in the back
  seat,especially with thedark tintthatwason thewindow softhe vehicle.
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          From the outsetofthis case,Petitioner has maintained thathe had no know ledge,upon entering
  the abandoned vehicle,that the two children w ere asleep in the back seat,and his assertion w asnever
  disputed by the state.Atthepleaheadng,Petitionerapologized to the victim and explained thathedid not
  know thechildren were in thevehiclewhen heattempted to take it:

         DEFENDANT:I'd like to justapologize to the victim.l'm sony,M r.Lowe.1 didn't
                   know yourkidswas (sicqin the car;lreally do apologizeand l'm very
                           rem orsefuland I'm going to do m y tim e foryou.1'm sorry.

         MR.LOWE: Thallkyou(pleahearingat14).
          The record therefore reveals that Petitionerhad no knowledge of the children's presence in the
  back seatwhen he attempted to take the car,and know ledge is an essentialelem entofboth kidnapping
  and false im prisonm entunderFlorida law.Even the trialcourtacknowledged thatthere was insufficient
  evidenceto supportcounts2 & 3:

         THE COURT: And Iagreethatthat(i.e.,Counts2& 3)shouldhaveneverbeenfiled.
         TRIAL COUN SEL:            Yeah.

         THE COURT: Itwouldhavebeenverydifficulttoproveattrial...(pleahearingat4).
           Because trialcounseladvised Petitionerto forgo filing the motion to dism iss counts 2 & 3 and to
  enteraplea to the lesseroffensesoffalseim prisonment,Petitionerstandsconvicted ofserious crim esfor
  which there was no factual basis.Absent counsel's error,the outcom e of the case would have been
  different,because Petitionerwould nothave pled guilty to counts2 & 3,butwould have,instead,insisted
  on going to trialon those counts;and Petitioneralm ostcertainly would havebeen acquitted in lightofthe
  insufficientevidenceto supportthem .

         Inadjudicatingthisclaim,thestatetlialcourtunreasonablyappliedStricklandv.Washington,466
  U.S.668,104 S.Ct.2052,80 L.Ed.2d 674 (1984).Even though thejudge who accepted theplea
  acknowledged theutterlack ofevidence to supportcounts2 & 3 (and thisisthesamejudgethatwould
  haveruled onthemotion to dismiss),thestatetlialcourt(viaasuccessorpost-convictionjudge)rejected
  Petitioner's claim of ineffective assistance of counsel for failing to file the m otion to dismiss, and
  Petitioner now stands convicted of crim es he did not even com mit.Petitioner is therefore entitled to
  federalhabeascorpusreliefunder28U.S.C.j2254(d)(1),andhisconvictionsandsentencesoncounts2
  & 3 mustbevacated.

   (b)lfyoudidnotexhaustyourstateremediesonGroundone,explainwhy:N/A.
   (c)DirectAppealofGroundOne:
      (1)Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
          YesEXjNo(j
      (2)Ifyoudidnotraisethisissueinyourdirectappeal,explainwhy:Thisisaclaim ofineffectiveassistanceoftrialcounsel.
     which isaoorooriatelv raised in amotion forpost-conviction reliefunderFla.R.Crim.P.3.850.
   (d)Post-convictionProceedings'
                                .
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      (1)Didyouraisethisissuethroughapost-convictionmotioninastatetrialcourt?YesEX)NoEi
      (2)lfyouranswertoQuestion(d)(1)is'Yes,'state:
       Typeofmotion orpetition'.M otion forDost-conviction reliefDursuantto Fla.R.crim.P.3.850.
       Name and location ofthe courtwhere the motion orpetition wasfiled:Fifteenth JudicialCircuitin and forPalm Beach
       Countv.Florida.
       Docketorcasenumber(ifyouknow):15CF003354AMB.
       Date ofthecourt'sdecision:October15.2018.
        Result(attachacopyofthecourt'sopinionororder,ifavailable):Summarilydenied.
      (3)Didyoureceiveahearingonyourmotionorpetition? Yesg)No gXJ
      (4)Didyouappealfrom thedenialofyourmotionorpetition?Yes(XjNoE)
      (5)IfyouranswertoQuestion (d)(4)is'Yes,'didyouraisethisissueintheappeal? YesEX)No (j
      (6)IfyouranswertoQuestion (d)(4)is'Yes,''state:
       Nameand location ofthecourtwheretheappealwasfiled:FourthDistrictCourtofAxmealofFlorida.
       Docketorcasenumber(ifyouknow):4D18-3723.
       Dateofthecourt'sdecision:M arch 21.2019:rehearinz denied on Aoril30.2019.
         Result(attachacopyofthecourt'sopinionororder,ifavailable):Percuriam qlfirmed.
       (7)IfyouranswertoQuestion(d)(4)orQuestion(d)(5)is''No,'explainwhyyou didnotraisethisissue:
    (e)OtherRemedies:Describeanyotherprocedures(such ashabeascomus,administrativeremedies,etc.)thatyouhaveused
   to exhaustyourstateremedieson GroundOne:N/A

  GROUND TW O :
       TRIAL COUNSEL W AS INEFFECTIVE IN VIOLATION OF THE SIXTH AM ENDM ENT TO THE
         UNITEDSTATESCONSTITUTION,FV FMLINGTOOBJECTTOTHESCORESHEETERROR
   (a)Supportingfacts(Donotargtzeorcitelaw.Juststatethespecificfactsthatsupportyourclaim):

         Petitionerwas originally charged in counts2 & 3 w ith kidnapping,victim under 13 yearsofage,
  whichisalevel9-1stdegreefelonypunishablebylife.Seej787.01(1)(b),Fla.Stat.(2015).However,the
  state agreed to reduce counts 2 & 3 to the lesser included offense offalse im prisonment,a level6-3rd
  degreefelony,ifPetitionerenteredapleaofguiltytoa11counts.Seej787.02(2),Fla.Stat.(2015).
         ln his state post-conviction m otion,Petitioner asserted under oath that assistant state attorney
  (ASA)AdrianaLopezwasseeking anupwarddepartureof57 monthsfrom whatshebelievedwasthe
  lowestpermissiblesentence(LPS)of123months,totaling180monthsinprison.Petitioneragreedtothe
  termsoftheproposedpleaagreem ent,and adatew as setforhim to entertheplea.
          Prior to the plea conference, the state prepared a Crim inal Punishm ent Code scoresheet.
  According to the state's calculations,the totalsentence points am ounted to 192,with an LPS of 123
  m onths.Butinstead oflisting counts2 & 3 aslevel6-31  -d degree felonies consistentwith thetennsofthe
  plea agreement,the state listed counts 2 & 3 as level 9-1st degree felonies under j 787.02(3)(a).
  Consequently,the totalsentence points en-oneously reflected 192,when they should have been 108,and
  thelowestpermissible sentencew as 123 m onths,when itshould havebeen 81m onths.

          Trialcounseldid notcheck the state's scoresheetcalculation before advising Petitionerto enter
  the plea.And so,at the tim e he entered the plea,Petitioner had no idea thatthere was an error in the
  state'sscoresheetcalculation.
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         Petitioner asseded under oath in his state post-conviction m otion that, although he ultim ately
  received 180monthsin prison (which ismorethan the123 monthsthattheStatethoughtto betheLPS),
  it cannotbe said thatthe same sentence would have been im posed w ith a correct scoresheet.This is
  because aspartofthe negotiated plea agreem ent,ASA Lopez explicitly agreed to givePetitionerexactly
  57 m onthsabovethe LPS.Therefore,with acorrectscoresheet,Petitionerwould havereceived a sentence
  of138m onths,not180,given that81m onths+ 57 m onths= 138m onths.

           Also significant is that,during the plea conference,the trialcourtasked A SA Lopez to advise
  Petitionerofthe maximum penalty hew asfacing,along with the recom m ended guidelines.N evertheless,
  the state merely outlined each countofthe inform ation and explained whatthe totalsentence would be,
  butdid notinform Petitionerand the courtaboutthe m aximum penalty he faced or whatthe guidelines
  werepriortoacceptingtheplea(pleahearingat6-7).
        ln adjudicatingthisclaim,thestatetrialcourtunreasonablyapplied Stricklandv.Washington,466
  U.S.668,104 S.Ct.2052,80 L.Ed.2d 674 (1984).Signiticantly,the trialcourtacknowledged the
  existence of the scoresheeterror and ordered that a new scoresheet be prepared and m ade partof the
  record,butrefused to afford Petitionerany reliefon his claim .Petitioner is therefore entitled to federal
  habeascorpusreliefunder28U.S.C.j2254(d)(1),becausethestatecourtrecorddoesnotshow thatthe
  sam esentencew ould have been imposed with acorrectscoresheet.

   (b)IfyoudidnotexhaustyourstateremediesonGroundTwo,explainwhy:N/A.
   (c)DirectAppealofGroundTwo:
     (1)Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
          Yes(XjNoE j
     (2)Ifyoudidnotraisethisissueinyourdirectappeal,explainwhy:Thisisaclaim ofineffectiveassistanceoftrialcounsel.
     which isappropriatelv raised in am otion forpost-conviction reliefunderFla.R.Crim .P.3.850.
   (d)Post-convictionProceedings:
     (1)Didyouraisethisissuethroughapost-convictionmotioninastatetrialcourt?YesEX)NoE)
     (2)IfyouranswertoQuestion(d)(1)is'Yes,''state:
       Typeofmotion orpetition'
                              .M otion foroost-conviction reliefDursuantto Fla.R.clim .P.3.850.
       Name and location ofthecourtwhere the motion orpetition was filed:Fiûeenth JudicialCircuitin and forPalm Beach
       Countv.Florida.
       Docketorcasenumber(ifyouknowl:15CF003354AMB.
       Dateofthe court'sdecision:October 15.2018.
       Result(attachacopyofthecourt'sopinionororder,ifavailable):Summarilydenied.
     (3)Didyoureceiveahearingonyourmotionorpetition? Yes()NoEXq
     (4)Didyouappealfrom thedenialofyourmotionorpetition?Yes(X)No(1
     (5)IfyouranswertoQuestion(d)(4)is'Yes,''didyouraisethisissueintheappeal? Yes(XqNoE)
     (6)IfyouranswertoQuestion(d)(4)is'Yes,'state:
       Nameand location ofthecourtwheretheappealwasfiled:Fourth DistrictCourtofArmealofFlorida.
       Docketorcasenumber(ifyouknowl:41718-3723.
       Dateofthe court'sdecision:M arch 21.2019:rehearinzdenied onAnril30.2019.
       Result(attachacopyofthecourt'sopinionororder,ifavailable):Percuriam afflrmed.
     (7)lfyouranswertoQuestion(d)(4)orQuestion(d)(5)is''No,'explainwhyyoudidnotraisethisissue:
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  (e)OtherRemedies:Describeany otherprocedures(suchashabeascomus,administrativeremedies,etc.)thatyouhaveusedto
  exhaustyourstateremedieson Ground Two:N/A



  GROUND THREE:

          TRIM COUNSEL W AS INEFFECTIVE,IN VIOLATION OF THE SIXTH AM ENDM ENT TO THE
          UNITED STATES CONSTITUTION ,FOR FAILING TO ENSURE THAT PETITIONER'S SENTENCE
          W AS IN CONFORM ANCE W ITH THE SPECIFIC TERM S OF THE PLEA AGREEM ENT

       Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaim):
         Under the specific term s of the plea agreem ent, the state was seeking an upward departure
  sentence of57 months above the LPS.How ever,due to the scoresheeterror,the state believed the LPS
  was 123 m onths when itwas actually 81 months.Because counselfailed to recognize the scoresheet
  error,Petitioner's sentence isnotin confonuance with the specific term softhe plea agreem ent.Counsel
  w as obligated to ensure thatPetitioner'ssentence conform ed to the specitk term s ofthe plea agreement,
  which was57 m onths above the true LPS of 81 months,am ounting to 138 m onths,not 180 m onths- a
  difference of42 months.

          Because trial counsel failed to ensure that Petitioner's sentence was in conform ance with the
  specific terms oftheplea agreem ent,and because Petitionerisnow serving 42 m onthsm ore than whathe
  should beasa resultofcounsel's error,Petitioner'ssentence mustbereversed and he mustberesentenced
  in confonnance with the plea agreem ent;thatis,he m ustbe resentenced to 138 m onths,which is 57
  m onthsabove thetrue lowestperm issiblesentence of81 months.

        ln adjudicatingthisclaim,thestatetrialcourtunreasonably appliedStricklandv.Washington,466
  U.S.668,104 S.Ct.2052,80 L.Ed.2d 674 (1984).Significantly,the trialcourtacknowledged the
  existence ofthe scoresheeterrorw hich rendered Petitioner'ssentenceinconsistentw ith the specific terms
  ofthepleaagreem ent,butthe courtstillrefused to granthim any form ofreliefon thiscalim .Petitioneris
  thereforeentitled to federalhabeascorpusreliefunder28 U.S.C.j 2254(d)(1),because hissentence of
  180 months im plisonm entcarm otbe reconciled with the specific term s of the plea agreem ent,i.e.,57
  m onths above the LPS which is 138 m onths imprisonm ent- and the discrepancy is the directresult of
  trialcounsel'serror.

   (b)IfyoudidnotexhaustyourstateremediesonGroundThree,explainwhy:N/A.
   (c)DirectAppealofGroundThree:
     (l)Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
          YesEX)No Eq
     (2)Ifyoudidnotraisethisissueinyourdirectappeal,explainwhy;Thisisaclaim ofineffectiveassistanceoftrialcounsel-
     which isarmrooriatelv raised in a motion forDost-conviction reliefunderFla.R.Crim .P.3.850.
   (d)Post-convictionProceedings'
                                .
     (1)Didyouraisethisissuethrouglzapost-convictionmotioninastatetrialcourt?Yes(XJNoE)
     (2)IfyouranswertoQuestion(d)(1)is'Yes,''state:
       Typeofmotionorpetition:M otion forpost-conviction reliefDursuantto Fla.R.crim.P.3.850.
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         Name and location ofthe courtwhere the motion orpetition was filed:Fiheenth JudicialCircuitin and forPalm Beach
         Counw.Florida.
         Docketorcasenumber(ifyouknow):15CF003354AMB.
         Dateofthecourt'
                       sdecision:October15.2018
        Result(attachacopyofthecourt'sopinionororder,ifavailable):Summarilvdenied.
      (3)Didyoureceiveahearingonyourmotionorpetition? Yesg)No(Xq
      (4)Didyouappealfrom thedenialofyourmotionorpetition?YesEX)NoEj
      (5)IfyouranswertoQuestion(d)(4)is''Yes,''didyouraisethisissueintheappeal? YesgXjNo()
      (6)IfyouranswertoQuestion(d)(4)is''Yes,''state:
         Nameand location ofthe courtwheretheappealwasfiled:Fourth DistrictCourtofAppealofFlorida.
         Docketorcasenumber(ifyouknowl:41318-3723.
         Dateofthecourfsdecision:M arch 21.2019:rehearincdeniedonArril30.2019.
        Result(attachacopyofthecourt'sopinionororder,ifavailable):#ercuriam aslrmed.
      (7)IfyouranswertoQuestion(d)(4)orQuestion(d)(5)is''No,''explainwhyyoudidnotraisethisissue:
    (e)OtherRemedies:Describeany otherprocedures(suchashabeascorpus,administrativeremedies,etc.)thatyou haveused
    to exhaustyolzrstaterem edieson Ground Three:N/A
  13.Pleaseanswertheseadditionalquestionsaboutthepetition you arefiling:
     (a) Have al1grounds for relief thatyou have raised in this petition been presented to the higheststate courthaving
     jurisdiction?
     Yes(X)No E)Ifyouransweris''      No'',statewhich groundshavenotbeen sopresented and give yourreasonts)fornot
     presenting them:
     (b)Isthere any groundin thispetition thathasnotbeen presented insomestateorfederalcourt?Ifso,which ground or
     groundshavenotbeen presented,and stateyourreasonsfornotpresenting them :
  14.Have you previously filed any type ofpetition,application,ormotion in a federalcoul.
                                                                                        tregarding the conviction thatyou
  challenge in thispetition?
      Yes()No gX)Ift%Yes,''statethenameandlocationofthecourt,thedocketorcasenumber,thetypeofproceeding,the
  issuesraised,thedateofthe courfs decision,and the resultforeach petition,application,ormotion filed.Attach a copy ofany
  courtopinion ororder,ifavailable.
  15.Do you have any petition orappealnow pending (filed and notdecidedyet)in any court,eitherstateorfederal,forthe
  judgmentyouarechallenging?
     Yesg)No (X1If<:Yes,''statethenameandlocationofthecourt,thedocketorcasenumber,thetypeofproceeding,andthe
     issuesraised.
  16.Givethenameandaddress,ifyouknow,ofeachattorneywhorepresentedyou inthefollowingstagesofthejudgmentyou
  arechallenging:
     (a)Atpreliminaly hearing;Jack Fleischman ofFleischman & Fleischman.P.A..2161Palm Beach LakesBlvd..Ste.403.
     W estPalm Beach.Florida33409-6613.
     (b)Atarraignmentandplea:JackFleischmanofFleischman& Fleischman.P.A..2l6lPalm BeachLakesBlvd.-Ste.403.
     W estPalm Beach.Florida33409-6613.
     (c)Attrial:JackFleischman ofFleischman& Fleischman.P.A..2161Palm BeachLakesBlvd..Ste.403.WestPalm Beach.
     Florida33409-6613.
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     (d)Atsentencing:JackFleischmanofFleischman & Fleischman.P.
                                                              A..2161Palm BeachLakesBlvd..Ste.
                                                                                             --
                                                                                              4-03.W estPalm
     Beach.Florida 33409-6613.
     (e)Onappeal:N/A:didnotnursueadirectaoneal.
     (9 Inanypost-convictionproceeding:Prose
     (g)0nappealfrom anyrulingagainstyouinapost-convictionproceeding'
                                                                    .Prose
  17.Doyouhaveanyfuturesentencetoserveafteryoucompletethesentenceforthejudgmentthatyou arechallenging?
           Yesg)No(X)
     (a)Ifso,givenameandlocationofcourtthatimposedtheothersentenceyouwillserveinthefuture:N/A
     (b)Givethedatetheothersentencewasimposed:N/A
     (c)Givethelengthoftheothersentence:N/A
     (d)Haveyou filed,ordoyouplantofile,anypetition thatchallengesthejudgmentorsentenceto beserved in thefuture?
           YesEjNoEXq
  18.TIMELINESS OF PETITION:Ifyourjudgmentofconviction becamefinaloveroneyearago,you mustexplain why the
  one-yearstatuteoflimitationsascontained in28U.S.C.$2244(d)doesnotbaryourpetitiom*One-yearstatuteoflimitationsas
  containedin28U.S. C.$2244(d)doesnotbaryourpetition.
          The instantpetition is tim ely.The state trialcourtimposed Petitioner's sentence on August25,
  2016.Shortly thereafter,on Septem ber 19,2016,Petitioner filed a m otion to withdraw plea.On October
  17,2016,the state trialcourtdenied Petitioner'sm otion to withdraw plea.And Petitioner did notfile a
  directappeal,so hisA EDPA one-yeartim e lim itcom m enced to run on Novem ber 16,2016,when the 30-
  day time lim itexpired during which Petitionercould have filed anotice ofappealfollowing the state trial
  court's denialofhis m otion to w ithdraw plea.See,e.g.,M ederos v.United States,2l8 F.3d 1252,1253
  (11th Cir.2000) (expressing thatwhen no directappealwas taken from the originaljudgmentof
  conviction,thejudgmentofconvictionbecamefinalwhen thetimeforfiling adirectappealexpired);
  Alcinsv.UnitedStates,204F.3d 1086,1089 n.1(11th Cir.2000)(dW convictionordinarily becomesfinal
  whentheopportunityfordirectappealofthejudgmentofconviction hasbeenexhausted.').
          Petitioner's A EDPA one-year tim e lim it ran unchecked until M ay 9,2017,when he tiled a
  motion to correctjailcredit.From the timehisconviction and sentencebecam efinalon November 16,
  2016,tothetimehefiledhismotionforjailcreditonMay9,2017,Petitionerspent174daysofhis365-
  day time limit,leaving him 191 days.On June 23,2017,thestatetrialcourtdenied Petitioner'smotion for
  jailcredit,and hisAEDPA timelimitbegon torun againonJune24,2017.
           Petitioner'sAEDPA one-yeartim e lim itran unchecked untilOctober23,2017,when he filed his
  rule 3.850 m otion forpost-conviction relief.Petitioner therefore spentanother 122 days ofhis 365-day
  tim e lim it,leaving him 69 dàys.Petitioner'stim e rem ained tolled untilApril30,2019,when the Fourth
  DistrictCourtofAppealdenied hismotion forrehearing.

          Petitioner's AEDPA one-yeartim e lim itran unchecked until M ay 24,2019,when he filed the
  instantpetition forwritofhabeas corpus.Petitioner therefore spentanother24 days ofhis 365-day tim e
  lim it.Because 174 + 122 + 24 = 320,and because 365 - 320 = 45,Petitionerhas45 days rem aining on
  his AEDPA one-year tim e lim itas of the filing of this petition.This petition is therefore tim ely filed
  undertheAEDPA .


                                                        9
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          Ideclare(orcertify,verify,orstate)underpenaltyofperjurythattheforegoingistrueandcorrectandthatthisPetition
  forW ritofHabeasCorpuswasplaced in theprison mailing system on this24th day ofM ay,201 .                  .

  Executedonthis24thdayofMay,2019,bytheundersigned.                      z     #'
                                                                                /r PA   ê '
                                                                                                                       C
                                                                                                                       /'& ;
                                                                          '
                                                                           chaelSamuelsDC# L39056
                                                                        Signature ofPetitioner




                                                              )               PRIItICHD'l-O
                                                          ,*$Qù'
                                                               IdîAYP    agg2:wr7û)!!tFAîl ttJ'
                                                             j.?j.g.a, QQ'  VB ($16t
                                                                   ..jogN.. . ..
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                                                                                    4fz
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                                                                                           ,G




                                                         10
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                                                                         '
                                                                                     C Jg g/:t
                                                                                        .
                                                                                             )
                                                                                             t
                                                                                             y,
                   IN '
                      FHE CIRCUIT COU RT OF 'I-HE FIIL*'I'EEN TI-IJU DICIAL CIRCUIT
                           IN AN D IDOR PA LM BEACH COUN TY , FLOR IDA



       STATE OF FLORIDA                                      CItIM INAL D IVISION:CW ''
                                                             CASE N O .:2015CF003354AX XXM B
                                                                                 .




       M ICHAEL DEEN RAPHAEL SAM UELS,
               D çftndant.          '
                      :        ''                     j4



          9RbER DENYI'
              -      NG DEFENDANT'SM OTION :012POSTCONVICTION RELIEF         -




              THIS C AU SE cam e before the Coklrt on Defendant M ichael Deell Itaplqzel Samuels'

       (CtDefendant'')prèycAlmelidedMotionforPoslconvictionRelief(ttMotion'')underFloridaRule
                                          '
       of Crim inal Procedtlre 3.850, Isled on October 27, 2017. volhe Coul'tcarelul
                                                                                  C ly exalnined and

       collsidered Dcfbndallt's M otion, the State'sResponse,D efendant's Iteply to State'sRtsponse, the

       courtfile,and applicable law .

                             A. STATEM ENT O F Tl1E C ASE AN l) FA CTS
                                           /

              Defbndant was charged by Inforn:ation              Carjackîng (Count l), tN'
                                                                                         vo counts of
      Kidnapping- Vi
                  'ctim Underl3 (Counts2and3),AggravatedBattery(Deadly Weapon)(Count
                  j                                                  .




      4),Crinninalslischief($lO0O ormore)(Coullt5),Leaving Scene ofCrash Inkolving Damage
      tcount6),and Failure to FtllfillDuty Upon Damaging Unattended Propcrty (Count7) (State's
                                                                                             .



      Ex.16/ï.''Infonmation.) OnJuly30,2015,theStatenollep?-(M'
                                                             .J.cJCotllft4'
                                                                          .(State's.
                                                                                   E,X.tt.
                                                                                         I.
                                                                                          )''Court
      Eve1'
          1tFon'
               n.)

             O n Auà'
                    lust25,20l6,Defendantentefed '
                                                 into a nego'
                                                            tiated plea agreenlcntand pleaded
      guilty ascharged to Counts 1,5, 6,and 7,and tl
                                                  .neCourtadjtldicatedDefkndantguiltyaccordingly.
      (State'sEx.11F)''PleaAgreelnent-) Defendantalso pleadedguiltylo andtlle'Cotlrtadjtltlicated
      Defendantgtlilty otothe lesser incltlded ollbnse ofFal
                                                          ' se lmprisonnnentofa Child Less Tllan l3




    FILED :PA LM BEACH CO UNTY,FL,SH ARON R .BOCK , CLERK .10/i5/20 l8 1l:20200 AM
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        YearsofAgq in Counts2 and 3. Id.ln aècordance with the negotiated pleaagreem ent, the Court

        sentenced Defendàntto Gfteen(15)yearsintheDepartmentofCorrections($$DOC'')onCountl.
        (State'sEx.(tH,''SentenceOrder.) TheCourtalso sentencéd Defendantto five (5)yearsin the
        D OC on Counts2,3,and 5,and to tim e served on Counts 6 and 7. 1d: A llsentences were to run

        concurrently,iand Deikndantwasawardedcreditfor511daysoftimeserved ld.      .

                    I
               Dn Septennber l9,2016,Defendantt5led a M otion to Nvithdraw Plea, w hicl: the Court

        denied.(Statç'
                    : sEx.ç1J1''Def.'sM ot.toW ithdraw Plea.) D efendantthen 151ed zpro â':M otionfor
       Con'ection ofJailCrediton M ay 9,2017,whichtheCou14also denied. (State'sEx.$$
                                                                                   K,''M ot,for
       Corrèction ofJailCredit.) On October23,2017,Defendantt5led apro se Motion for Post-
       ConvictionRelief.(State'sEx.$$L,''M ot.forPostconvictionRelief.)DefendantfiledanAmended
       M otiont-orl7ostèonv
                         ' ictionReliefonOciober27,20l7.Defendantthenfiled.
                                                                          asecondcopyofthe
       sam e M otion o11 Ja
                          'nuary 25, 2018. Presently pending is D'
                                                                 ef-
                                                                   endant's Amended M otion for

       Postconvictiop Relief.

                                 B.LEGAL AXALYSISAN1)RULINGS
              ln the'instantM otion,Defendantraisestwo grounts forrelief First, he argues thatthe
                                                                            .




       scoresheetpresented fbr sentencing w as erroneous by retlecting an inaccurate lowestperm issible

       sentence. Second,he argues his trialcounselwasineffbctive by failing to m ove to dism iss Counts

       2and3,byfailingtoobjecttothe'
                                   scoresheeterror,andbyfailing toensureDefendant'ssentence
       conform ed to the plea agreelnent.

              1. Erroneous Scorcshcct
                .                               .       '

              Instead ofpleading guilty to theiwo chargesofK'
                                                            idnapping,Defendaritpleaded guilty to

      two counts ofFalse Imprisonm ent,a lesserincluded offense. Defendantassel
                                                                              'tsthe scoresheet

      presented for sentencing zfroneously denoted the tw o charges of False lm prisom nentas a level



                                                Page 2 of 8
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                         k

        nine,Grst-degree felony instead ofa levelsix,third-degree felony,resulting in an inaccklrate lowest
                         1

        permissible sentence of123 monthsinstead of81months. In response,the State arguesthatFalse
                     j           '               .
        Imprisonm entof a child under the age of thirteen is designated as a third-degree, level-nine

        ol-fbnse. How ever,this is incorrect, A person w ho com m its the ofxbnse offalse im prisonm entof
                     :
        a child undertheage ()fthirteen isguilty ofa felony ofthe third degree. j787,02(1)(b),787.
                                                                                                 02(2),
        Fla.Stat.(20l5). A conviction fbrFalse lmprisonmentundersection 787.02(2)isa levelsix
       felony. j92l.0022,Fla.Stat.(2O15). Additionally,the rebord rellectstllatboth the trialjudge
       and yhe parties to the plea agreem enttlnderstood the tw o False lm prisonm entcounts to be third-

       degree felonies,and nptfirst-degree feloniesunder Florida Statutes section 787.O2(3)(a).

        11:22-25.) Therefore,Defendant'sscoresheetshould reflectfalse ilmprisonmentasa levelsix,.
       third-degree felony.

               N onetlleless,Florida law provicles thattsw hen a defendantenters a negotiated plea for a

       term of years,(elying upon an incorrectly calculated scoresheet, such sentence is not illegalso

       long as itdoes notexceed the statutofy m axim uln .'' Nlortimer v.State,770 So.2d 743,744 (Fla.

       4thDCA 200j'),(citinglvy v.Stale,754So.2:1776(Fla.4thDCA 2000),
                                                                     -Gibsonv stale,619So.
                                                                                         .




       2d 31(FIa.4thDCA l993);Kleppihgerp.Slate,760 So.2d 1045(1-1a.2d DCA 2000),
                                                                                .Dunenas
           x                                                   %


       v.l'
          foore,7t2 So.2d 1007 (Fla.'3dDCA 2000)'
                                                ,Gainer:7.State,590So.2c11001(FJ:Z 1stD CA       .

                     ,                                                                       '


       1991)).CtAIRJ/erroronascoresheetisharnnlesswhereadefendant'ssentencesaretherestlltofhis
       negotiated plea agreel-
                             nent.'' H ill v.State,730 So.2û
                                                           1322,323 (Fla.1stDCA 1999);seealso
       l-
        larris v.Statè,810 So.2d 1t93,1O94 (Fla.5th bCA 2002)(defendant'sscoresheeterrorsare

       harmlesswheredefendantenteredintoanegotiatedplea).
               Because D efendantentered a gtlilty plea in accordance w ith a negotiated plea agreem ent

       specificallyproviding fort5fteçnyears(180 months)ofincarceration,and noneoftheindividual


                                                 Page 3 of 8
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           sentences im posed exceed the relevant statutory m axim um , his sentences are not illegal.

           Ful-therlmore,dul'ing the plea colloqkly,the'Courtclarified thatthe fifteen-year sentence is notthe

          minimum mandatory,demonstrating that neither the trialjudge nor the pàrties to the plea
          agreementintendedDefendanttobesentencedtothelowestpermissibleguidelinessentcnce.(-1-1..
           12:14-17.) TlperecordreflectsDefendantenteredhispleai1:exchangeforalsfteen-yearsentence,
          nota guidelines sentence.

                  D efendant.fulchefalleges thatin negotiating the plea agreem ent,the State intepded to seek
                                                                                                  *
                                .'

          an upwarddepartureof57monthsfrom the lowestperliissiblesentence. Defendantarguesthe
          State,belieying the low estperm issible sentence to be 123 m onths,agreed to a sentence of 180

          m onths,o1-57 nnonths above the 123 m onth incorrectly-calctllated lowestperm issible sentence.
                                                                                            '
                       '                .
          p.                                                         .
          l-hus,Defendantargtlesthedentenéeagreed to in'
                                                       thepleaagreen-
                                                                    lcntshould havebeen 57 nnonths

          above tl'
                  le correctly calculated low
                                            ' estpernnissible sentence of 81 l'
                                                                              nonths, resulting in a sentence
                                              1 $*
          o1-138 lnontlu instead of 180 m on'
                                            ths. Contrary to D efendant's assertions, the reeol'd does not

          clearlydenlolistratethatlhetrialjudgeandpartiesto thepleaagreelmentintcndedthatl3efendant
          be sentenced to an upward departure of57 months from the lowestperm issible sentence. The

       record simply'reflects'thatDelkndantncgotiated fo'r a lsfteen-yearsentence,which he received.
                                              '
                  .



       A ccordingly,'any error on 'Defendant's scoresheet is harm less, ànd D efendant's request l'or
      '
       resentencing is denied.

                 I-loàvever,Dcfendantisentitled to acorrectlyprepared scorèsheetin tl'
                                                                                     lerecol'd.SeeTaylor
                                                          '                                 .,
                           .

       p.Slale,832 So.2d '83l (F,la.4th DCA 2002)(although scoresheeterrorwasharlnlessas to
       defendant'ssentence,he isentitled to acorrectèd scoresheetl;see also Poolev.State,777 So.2:1
       1186,ll87(Fla.5thDCA 2001)(defendantisentitlcd toanaccuratesceresheeteven ifitwillIlot




                                                     Pagb4 of8
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                                                                                       e'

                 affecthissentence).Therefore,anew scoresheetshould beprepared,evel:thoughdoingsowill
                 notaftkctD ef-endant'ssentence.

                           lneffectivc A s'sistance ()fC ounscl

                        To prçvail on a claim of ineffective assistance of counsel,a defendant m ust show that

                counsel'sperformancewasdeicientandthedeficientperformanceprejudicedtlncdefendantsoas
                to deprive l-
                            lim ofa fairtrial.Strickland p.bI/ashinglon,466 U.
                                                                         ,   S.688(1984),
                                                                                        .seealso Wigginsp.
                Snlith,539U.S.5l0(2003)(reaffirmingtheStricklandtwo-pronganalysisfbrclaimsofincffkctive
                assistanceofcounsel).Thereisastrongpresumptionttthatcoklnsel'sconductfallswithinth'erange
                ofreasonable profbssionalassistance''orthatthé
                                                             .challenged action nnightbe considered sound trial

                strategy. ld.àt690. To'avoid thedistorting effect'
                                                                 s o1'hindsightperspective,acourtdeciding on

                thisl'
                     natternntlstjudg.ethereasonablenessofcounsel'schallenged perforlanance asviewed atthe
                tin3e of-the cobnsel's perfon-nance,

                       Delknilantargueshistrialcounselwasineffective by failing to'lnoveto dismissCounts2
            '



    9.(j%e and3forKidpapping.l-lowever,amotiontodismissCounts2and3wouldhavebeenunavailing.
                                                                                                         .



                            '
b'
 n % -1-he.probablecauseaffidavitallegesfactsthatcouldsupportacolpvictionforkidnapping (State,s
    x
                                                                                                             .




                Ex.C'/ )''ProbableCatlseAff.)W hethertheincidenttranspiredasallegedissomethingforthejury
                                                                  #'                    x        r
                to decide,notthe courton a nnotiojnto disnniss. Counselvvas notineffective ï.
                                          '
                                                                                            ol-ikililtg to f5Ie a
                                                                                                     .           .

                                          ,


                motion thatwould havebeen denied. See Whilted v.Slate,992 So,2d352,352 (l7la.4thDCA.
                2008)(counsel'sfailtlreto !5lennotiontodisnnisscharg.eswasnotineflkctiveassistanceofcounscl
'
                wherethemotionwass'uretobede'
                                            nied).
        .
                       Furthei-nlorepD efendant's clainn of il:effective assistance of
                                                                                     -counselfor failure to l'
                                                                                                             nove to

,               dism iss Counts 2 and 3 is an attem ptto go behind the plea. D efendantnow clailns he is innocent

                ofthesetwo chargestowhich hepleaded guilty.ttoncetheDefendantentersapleaofguilty g
                                                                                                 x


                                                           Page 5 of8
Case 9:19-cv-80757-WPD Document 1 Entered on FLSD Docket 06/07/2019 Page 16 of 23



               (1and assureithegcjourt
                                     :
                                       underoath thattl'
                                                       leplea i'
                                                               svoluntary,the gclourtwillnotgo behind tlle
                                  J                                                                       '
               plea. -1-he pléa cutsoffinquiry into a1lthatprecedes it.The Defendantis barred from contesting V
                               i                    ,,
              eventshappening beforetheplea. Stano p.State,520 So.2d 278,280 (Fla.1988). Dulingthe            .




              plea colloquy,D efendantagreed to the factualbasis supporting the charges to w hich he pleaded

              guilty.q-he record dem onstrates thatD efendantm ade his guilty plea freely and voluntarily after
                                                                                                                      *
                                                                                                                      .
                                                                                                                      .

              discussions w ith trialcounseland thatl:e had no questions to ask counselbel:ore 1:e pleaded guilty. G

              Therefore,1:is counselw asnotineffective by failing to l'
                                                                      nove to dism iss Counts 2 and 3
                                                                                                    ..
      a        .                                                                  '

                   ...

          jo
           & -
             >
             '
             )Defendanta1soargueshistrialcounselwasineffcctivebyfailingtoobjecttoth'
                                                                                   escoresheet
              error. 'C-f-hefailureto objectto scoresheet,errorsconstittltesineffective assistance ofcounselif
              cotll-lselfailed to objectto errorsofwhicl)counselknew orshould laaveknown.'' l-
                                                                                             lal'relson v.
              Slale,40 So.3d57' 59(Fla.2dDCA 2010)(quotin'gkklllonv.Stale,8#2 So.2d308,312(F1a.2(1
                                      .             .




              DCA 2004)). Because Defendant's counselshould have known ofthe scoresl:eeterror,trial
              counsel'st-ailuretoobjecttothescoresheeterrorconstitutesdelicientperforlnance.
                         l-low ever,to be entitled to postconviction relief,Defendant 1m11stshow notollly thattrial
                                                                                       .


                              x               '          t
              counsel'spertonnancewasdelicientbtltalsothathewaspl.ejudicedby thatdeficiency.W henan
              ineffective asiistance of cotlnsel clailn arises frolzl the entry of a gtlilty plea, the Strickland

              'sprejudice''requirennent is luodified to focus on Nvhetller eounsel's ineffective pel-f'olnnaanee.
                               g          '
          affected the outcome ofthe pleaprocess. ;;ln ol-derto satisl-
                                                                      '
                                                                      y the l'prejudice''requirennent,the
          defkndantlmustshow thatthere is a reasonable probability that,but forcotlnsel's errors, he w otlld

          nothave'pleaded guilty and'w ould have insisted on going to trial.'' l-
                                                                                1ill'v.Lockhart,474 U.S.52,

          58-59(1985).
                   y Here, D efendant did not allege thatzhad counsel colmectly inform ed him about the
          scoresheeterrùr,he would have pleaded notguilty and insisted on going to trialon allcharges
          .                                                                                                       .




                                                             Page 6 of8
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        Nordid Defendantallegethathe placed particularemphasison the scoresheetin deciding whether
        V
        ornotto plead gtlilty. Therefore,Defendant'sallegationsdonotsatisfk theStl-
                                      .                                           ickland'sprejuclice''
       'requirenlent.

     y L, 3. Conformit'
     L                ywiththePleaAgrceluent
               Last,Defendantargueshisttialcounselwas ineffective by failing to ensure Dcfendant's

        sentenc,e confornled. to theplea agreennent. Specifscally,Defendantre-allegesthatin negotiating

       the plea agreem vnt,the State intended to sqek an upw ard departtlre of57 m onths from the lowest

       perlmisdibl'e sentence,and thattrialcounsel's failure to recognize the scoresheeterrorresulted in a I
                                                                   NQU'
                                                                      N- C:.
                                                                           e'
                                                                            -ci-'' 22                 C*'
       sentbnce not in conform ance w ith the plea agreem ent. As stated above, there is nothing in the
                                                                                                        rA3'J
       record to sgpport D efendant's assertion that the parties to the plea agreem ent intended that

       Defen'dant be sentenced to an tlpw ard departure
                                  .                                nnonths I'
                                                                            -
                                                                            l'olu the lourest penm issible

       senteùce. Tllerecord sinnply retlectsthatDefendantnegotiated '
                                                                    l'
                                                                     bl'af'
                                                                          ifteen-ycarselltcllce, which
       he received. Because Detbndant's sentence does confornn to tlne plea agreennellt: triaicotlnse!'s

       perf'
           b rnnance w as notdeûcientin this regard.

              Accordingly,itishereby

              O RD ER ED that Defendant's Annended M otion f'
                                                            or Postc.
                                                                    onviction Relicf is DEN IED .

       The Court hereby adopls and incorporates il-
                                                  lto this Okder the ex
                                                                      :hibits atlaclaed to the State's

                           ltnnaly appealtlpis tDl
       Response. D d.fendal'                 .
                                                       '
                                                 -del-withinthil-ty(30)daysolrrenditionofthisOrdcr.
                                                                             '
              D O N E A N l) OR D ERE I),in Channbers atW estPalm Beach, 13allm BeaclnCounty,Florida

       this   lb
              -
               '.JQ
                  dayof- '            t          ,
                                                     20I8
                                                        .




                                                                   j,        '
                                                                         <       N
                                                             JO S -13H A
                                                             C ircu' dge



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        Popiesprovided to:
        M
        loiut
           chael Sam
             h Bay,Fluels,D33493-
                     orida  C# 1,39056,
                                -
                                 2233 South Bay CorrectionalFacility, 600 U.S Highway 27,50t1th,

        Renelda E.M ack,Es:!.,A ssistant State A ttorney, 401 N orth D ixie H ighway, W estPalm Beacll
        Florida33401(e-postconviction@sa15.org)                                                      ,




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                                                                                                                    C Q r7
                       IN THE CIRCUIT COURT 0F THE FIFTEENTI'IJUDICIA L CIRCUIT
                               IN A N D FO R PALM BEA CH COUN TY ,FLOR ID A



      STATE OF FLORIDA                                                               CRIM INA L DIVISION :$(X''
                                                                                     CASE N O.:2015CF003354AXXM 4B


      MICHAEL DEEN RAPHAZL SAM UELS,
                D efendant.



                       O RDER DEN'YIN G DEFENDANT'S M -
                                                      O TIO N FO R REH EARING
                TH IS CAUSE cam e before the Courton DefendantM ichaeiDeen RaphaelSamuels'

      (dtDefendant3') M otion for Rehearing (;ûMotion''),filed on November 19,2018. The Coul'
                                                                                            t
      carefully reviewed Defendant'sM otion and isotherwise fully advised in thepremises.
                          è-
                A s discussed in the Court'sO rderD enying D efendant's M otion for Postconviction Relief

      entered on Octpber15,2018,Defendantdoesnotallegethathewould havepltaded notguilty and

      insisted on going to trialon al1charges had counselcorrectly infornaed him aboutthescoresheet

      error. N ordid Defendantallege thathe placed particularem phasis on the scoresheetin deciding
      w hetherornotfto plead guilty. ;qFailuretodemonstrateprejudicedefeatstheclaim oj.inefs ctive

      assistanceofcötlnsel.'' Sanchezv.State,164 So.3d4,5(Fla.4th DCA 2014)(citingStrickland
         J1/r?,
              5'
               7?ï??4
                    g?o?!,466 U.S.668 (1984)).
                A ccordingly,itishereby




    D TT r7T'x. n 1
                  : T A s n r A ''AT T '-Ar'NT n Trraf r D T   D T T A n n 'K T n   n n rA'rr /-5T r n WF   4 4 IM r lr%n 1 n 5 n .n n .n n A A .
                                                                                                                                                F
Case 9:19-cv-80757-WPD Document 1 Entered on FLSD Docket 06/07/2019 Page 20 of 23



            ORDERED AND ADJUDGED that Defendant's M otion for Rehearing is DENIED

      withoutprejudiceandwithtwenty(20)daysleavetoamendtoproperlyallegetkctsdemonstrating
      prejudiceasa.
                  resultoftrialcounsel'sfailbretoobjecttothescoresheeterror.
            DONE AND O RDERED ,in ChambersatW estPalm Beach,Palm Beach County,Florida.
                               .




      this g $ day'of ktodCk'
                            n.            ,2018.
                                                                    >?

                                                    kS
                                                    COic
                                                       S
                                                       qE
                                                        qi
                                                         PtH
                                                         .
                                                           JudgeRX             /

      Copiesprovided to:
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                                            Page2 of2
Case 9:19-cv-80757-WPD Document 1 Entered on FLSD Docket 06/07/2019 Page 21 of 23




               D ISTRICT COURT O F APPEAL O F THE STATE O F FLORIDA
                                      FOURTH DISTRICT

                                 M IC H A E L SA M U E LS ,
                                        A ppellant,



                                 ST A TE O F FL O R ID A ,
                                        Appellee.

                                      N o.4D 18-3723

                                      (March 21,2019)
          Appealof order denying n lle 3.850 m otion from the Circuit Court for
       the Fifteenth Judicial Circuit,Palm Beach County;Joseph M arx, Judge;
       L.T.Case N o.50-2015-CF-003354-AXX X-M B .

          M ichael Sam u els, Sou th B ay,pro se.

          N o appearance required for appellee.

       PER CURIAM .

         Affirm ed.
       GROSS,CIKLIN and FORST,JJ.,concur.
                                  *                     *


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Case 9:19-cv-80757-WPD Document 1 Entered on FLSD Docket 06/07/2019 Page 22 of 23


            IN THE DISTRICT COURT OF APPEAL OF THE STAYE OF FLORIDA
  FO URTH DISTRICT,110 SO UTH TAMA RIND AVENUE,W EST PA LM BEACH , FL 33401

                                           April30,2019


                                                       CASE NO .: 4D18-3723
                                                       L.T.No.: 502015CF003354A

 M ICHAEL SAM UELS                                STATE OF FLORIDA

 Appellant/Petitionerls)                          Appellee /Respondentts)
 BY O RDER O F THE CO URT:

      O RDERED that the appellant's April4,2019 'im otion for rehearing and/or clarification
 and requestforwritten opinion''is denied.


 Served:

 cc: Attorney GeneraI-W .P.B.      M ichaelSam uels

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                           Case 9:19-cv-80757-WPD Document 1 Entered on FLSD Docket 06/07/2019 Page 23 of 23
